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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION

MONTERRIOUS HARRIS,                 )
                                    )
     Plaintiff                      )
                                    )
VS.                                 )                         Case No.: 2:23-cv-2058-JTF-tmp
                                    )
CITY OF MEMPHIS, EMMITT             )
 MARTIN, III,DESMOND MILLS, JR.,    )
JUSTIN SMITH, DEMETRIUS HALEY,      )
TADARRIUS BEAN, and JOHN DOES 1-4,  )
INDIVIDUALLY, AND IN THEIR OFFICIAL )
CAPACITIES AS CITY OF MEMPHIS       )
LAW ENFORCEMENT OFFICERS,           )
                                    )
     Defendants.


 MOTION OF DEFENDANT BEAN TO STAY PROCEEDINGS AND MEMORANDUM
                           IN SUPPORT


         Defendant, Tadarrius Bean (“Defendant Bean”) in his individual capacity, by and through

 undersigned Counsel, respectfully moves this Court to stay all further proceedings in this cause

 until all criminal charges against him are resolved and disposed. In support of his Motion,

 Defendant Bean further states as follows:

                                       I.    BACKGROUND

   This case involves opportunistic accusations against Tadarrius Bean, The City of Memphis,

and other former members of the Memphis Police Department and of the now disbanded

Scorpion Unit. Plaintiff filed his Complaint (ECF No.1) on February 7, 2023. Defendant Bean

was served with the Complaint on or about February 17, 2023. Defendant Bean, as well as other

named Defendants, have been indicted in the Criminal Court of Shelby County, Tennessee for

the 30th Judicial District, alleging criminal responsibility for the death of Tyre Nichols, a matter

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which Plaintiff references extensively in his complaint in this matter. Defendant Bean, as well as

other named Defendants, also anticipates a federal indictment. In addition, a civil suit regarding

the death of Tyre Nichols has been filed, in which Defendant Bean and several other named

Defendants have been made Defendants. For these reasons, Defendant Bean requests this Court

stay any further proceedings in this cause until any and all criminal proceedings have been

resolved.

                                  II.    LAW AND ARGUMENT

   ‘The power to stay proceedings is incidental to the power inherent in every court to control

the disposition of the causes in its docket with economy of time and effort for itself, for counsel

and for litigants, and the entry of such an order ordinarily rests with the sound discretion of the

District Court,’ F.T.C. v. E.M.A. Nationwide, Inc., 767 F.3d 611, 626-27 (6th Cir. 2014)(quoting

Ohio Envtl. Council v. U.S. Dist. Court, S. Dist. Of Ohio, E. Div., 565 F.2d 393, 396 (6th Cir.

1977).

   In granting Defendant Bean’s Motion to Stay, the Court should consider and balance the

following factors: 1)the extent the issues in the criminal case overlap with the issues of the civil

case; 2) the status of the case; 3) the private interests of the Plaintiff weighed against prejudice to

the Plaintiff caused by the delay; 4) the private interests of and burden on the Defendant; 5) the

interest of the courts, and 6) the public interest. F.T.C. v. E.M.A. Nationwide, Inc., 767 F.3d 611,

627 (6th Cir. 2014)(citing Chao v. Fleming, 498 F.Supp.2d 1034, 1037 (W.D. Mich.2007)). The

Court should also consider to what “extent to which the [D]efendant’s fifth amendment rights

would be implicated.” F.T.C. v. E.M.A. Nationwide, Inc., 767 F.3d 611, 627 (6th Cir.

2014)(quoting Keating v. Office of Thrift Supervision, 45 F.3d 322, 324 (9th Cir. 1995).

“[S]imultaneous criminal and civil cases involving the same or closely related facts may give rise



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to Fifth Amendment concerns sufficient to warrant a stay of civil proceedings.” Chao v. Fleming,

498 F.Supp.2d 1034, 1037 (W.D. Mich.2007). The Court in Chao also recognized that a denial of

a stay could not only implicate the Defendant’s Fifth Amendment rights, but could also extend

criminal discovery, expose defense theories to prosecutors, or prejudice criminal cases in other

ways. Id. quoting Trustees of Plumbers & Pipefitters Nat’l Pension Fund v. Transworld Mech.,

Inc., 886 F.Supp. 1134, 1138 (S.D.N.Y. 1995).

   In the present matter, Defendant Bean, along with other named Defendants, has been indicted

in the Criminal Court of Shelby County, Tennessee for the 30th Judicial District at Memphis

related to an unfortunate death, for which he vehemently denies liability and plans to vigorously

defend every allegation presented in any forum that such charges are currently pending or that

may be presented at a future date. In this matter, Plaintiff’s complaint focuses extensively on the

death of Tyre Nichols. Because of these references, Defendant Bean faces a severe risk of self-

incrimination compromising his Fifth Amendment rights should he be required to participate in

this matter. Several courts have found this substantial weight to stay civil proceedings.

Furthermore, there is no doubt that the discovery of this cause and the civil case involving Tyre

Nichols will overlap. A stay in this matter would prevent any increased likelihood that Defendant

Bean or either defendant named individually in this cause would make any incriminating

statements in this matter that could then be used against them in the criminal proceedings. The

Plaintiff has already shown, through allegations in his Complaint regarding a different incident,

that he may seek discovery or ask questions regarding the case of which Defendant Bean and

other defendants currently face criminal indictment. The overlap of the cases and the dangers of

the Defendant’s Fifth Amendment rights being impaired certainly must outweigh any private

interests that Plaintiff may have in this civil matter. Furthermore, any prejudice against the



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Plaintiff for delay is also outweighed by the criminal indictment and high danger of overlap in

the cases. There is also no prejudice against Plaintiff in a stay of these proceedings, as Plaintiff is

currently at no risk of any injury or other irreparable harm by which this Court could possibly see

as outweighing the prejudices that could face Defendant Bean or other Defendants should the

Court deny a stay.

   A stay in this case would also benefit this Court, which may have to hear and rule on

countless motions regarding Defendant Bean’s or other Defendants’ assertions of the Fifth

Amendment throughout the discovery phase of this cause should a stay be denied. Furthermore,

the resolution of this cause could be greatly determined by the results of the criminal cases.

Lastly, in balancing the public interest, Defendant would assert that such interest is minimum

when weighing it against the private interest of the Defendant’s Fifth Amendment rights.

                                       III.   CONCLUSION

   For the foregoing reasons, Defendant Bean respectfully prays this Court grant his Motion to

Stay Proceedings in this cause.


                                               ATTORNEY FOR TADARRIUS BEAN

                                               /s/ John Keith Perry, Jr.
                                               John Keith Perry, Jr. , (024283)
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                             CERTIFICATE OF CONSULTATION

       I, John Keith Perry, Jr., counsel for Defendant Tadarrius Bean, herby certify that on June

27, 2023, I contacted all counsel via email and/or telephone regarding this Motion. Counsel for

Defendant Smith does not oppose. Counsel for Plaintiff opposes the relief requested. Counsel for

City of Memphis opposes the relief requested. There has been no indication from other named

Defendants.

                                                      /s/ John Keith Perry, Jr.



                                  CERTIFICATE OF SERVICE

       I, John Keith Perry, Jr., hereby certify on this day I electronically filed the foregoing with

the Clerk of the Court by using the CM.ECF system, which sent notification of such filing to all

counsel of record.

                                              /s/ John Keith Perry, Jr.
                                              John Keith Perry, Jr.




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